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11                                 UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                    )      No.: CR 05-00465-JSW
                                                  )
16           Plaintiff,                           )
                                                  )      [PROPOSED] ORDER EXCLUDING
17      v.                                        )      TIME UNDER THE SPEEDY TRIAL ACT
                                                  )
18   ZIBU “BOB GAO,                               )
     ZHICHENG ZENG,                               )
19   LIN HUN MA, and                              )
     XIANG ZHUGE,                                 )
20                                                )
             Defendants.                          )
21                                                )
                                                  )
22
23           This matter came on the calendar of the Honorable Nandor J. Vadas on July 21, 2005, for
24   preliminary hearing or arraignment. The defendants were arraigned on the above-captioned
25   indictment. At the parties’ request, the Court continued the matter until August 4, 2005 for an
26   initial appearance before the Honorable Jeffrey S. White.
27
28
     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW
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1           The parties requested an exclusion of time under the Speedy Trial Act from July 21
2    through August 4, 2005 based upon the need for effective preparation of counsel. The
3    government is in the process of providing discovery to the defense. Additionally, one of the
4    defendants, Zibu “Bob” Gao, has not yet made an appearance before the Court. A reasonable
5    period of delay is permissible to permit the government to secure Gao’s appearance. See 18
6    U.S.C. § 3161(h)(7). Therefore, the parties are requesting an exclusion of time under the Speedy
7    Trial Act. The parties agree that the time from July 21 through August 4, 2005 should be
8    excluded in computing the time within which trial must commence. See 18 U.S.C. §§
9    3161(h)(7), 3161(h)(8)(A) and (B)(iv).
10          Accordingly, the Court HEREBY ORDERS that the time from July 21 through August 4,
11   2005 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds that a
12   reasonable period of delay is permissible to permit the government to secure Gao’s appearance.
13   See 18 U.S.C. § 3161(h)(7). The Court finds that the failure to grant the requested exclusion
14   would deny the defendants reasonable time necessary for effective preparation, taking into
15   account the exercise of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv). The Court further
16   finds that the ends of justice served by granting the requested exclusion outweigh the best
17   interest of the public and the defendants in a speedy trial and in the prompt disposition of
18   criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes that this
19   exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
20
21          IT IS SO ORDERED.
22
23   DATED: August 5, 2005
                                                   ___________________________________
24                                                 EDWARD M. CHEN
                                                   UNITED STATES MAGISTRATE JUDGE
25
26
27
28
     [PROPOSED] ORDER EXCLUDING TIME
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1    Approved as to form:
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     /s/ Tony Tamburello
3    TONY TAMBURELLO
     Attorney for Defendant Zeng
4
5    /s/ Harris Taback
     HARRIS TABACK, ESQ.
6    Attorney for Defendant Zhuge
7
     /s/ Frank Bell
8    FRANK BELL, ESQ.
     Attorney for Defendant MA
9
10   /s/ Monica Fernandez
     MONICA FERNANDEZ
11   Assistant United States Attorney
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     [PROPOSED] ORDER EXCLUDING TIME
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